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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
CASANDRA VENTURA                                                :
                                                                :   Civil Case No.: 23-cv-10098
                                    Plaintiff,                  :
                                                                :   NOTICE OF DISMISSAL
                  v.                                            :   WITH PREJUDICE
                                                                :
SEAN COMBS, BAD BOY ENTERTAINMENT, :
BAD BOY RECORDS, EPIC RECORDS, COMBS :
ENTERPRISES, LLC, and DOE CORPS. 1-10,                          :
                                                                :
                                    Defendants.                 :
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        Pursuant to an agreement between the parties, Plaintiff hereby dismisses this action, with

prejudice and without costs or fees to either party, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).


Dated: November 20, 2023

WIGDOR LLP


By: ___________________________

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